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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                       Case No.: 1:17−cv−03688
                                                         Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 11, 2018:


       MINUTE entry before the Honorable John Robert Blakey: On the Court's own
motion, the status hearing previously set for 11/15/2018 at 9:45 a.m. is reset for
11/15/2018 at 1:00 p.m. in Courtroom 1203. (Note Time Change Only) Mailed notice(gel,
)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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